4:10-cr-03120-RGK-CRZ               Doc # 100   Filed: 05/16/11       Page 1 of 1 - Page ID # 283




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                     4:10CR3120
                                                 )
                 v.                              )
                                                 )
KHADIJA THOMPSON,                                )      TENTATIVE FINDINGS REGARDING
                                                 )           REVISED PRESENTENCE
                       Defendants.               )          INVESTIGATION REPORT
                                                 )


        The defendant has objected to paragraphs 48, 49, 51, 52, 53 and 56. The probation officer’s
response indicates court documentation has been received, verifying paragraphs 48 and 51. He says
that efforts are being made to verify the remaining convictions.
        At or before the sentencing hearing the probation officer should provide the remaining
verifications.
        I tentatively find that the Revised Presentence Investigation Report is true and accurate as
to the paragraphs not objected to by the defendant. Objections may be made at the time of the
sentencing to these tentative findings, but no evidence, aside from the verification of convictions and
sentences objected to, will be received.
        Dated May 16, 2011.

                                        BY THE COURT


                                        s/ Warren K. Urbom
                                        United States Senior District Judge
